                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

JOHN RUFFINO and MARTHA )
RUFFINO, Husband and Wife,    )
                              )
      Plaintiffs,             )
                              )                         CASE No. 3:17-cv-00725
v.                            )                         Judge Campbell
                              )                         Magistrate Judge Newbern
DR. CLARK ARCHER and HCA      )
HEALTH SERVICES OF TENNESSEE, )                         JURY DEMANDED
INC. d/b/a STONECREST MEDICAL )
CENTER                        )
                              )
      Defendants.             )
                              )

                DR. ARCHER’S MOTION IN LIMINE NO. 3 TO EXCLUDE
            TESTIMONY, EVIDENCE AND ARGUMENT THAT TPA COULD BE
             ADMINISTERED PAST 4.5 HOURS OF LAST KNOWN NORMAL.


          COMES NOW Defendant, Dr. Clark Archer (hereinafter "Dr. Archer") and respectfully

moves the Court in limine to enter an Order excluding testimony, evidence, or argument that tPA

can be safely administered past 4.5 hours from the last time a patient is deemed normal.

Although there are differing theories and opinions about when Mr. Ruffino was last normal, one

common fact remains, which is that there is no expert testimony in this case that tPA can be or

should be administered any time greater than 4.5 hours of a patient’s last known normal.

                                   ARGUMENT AND AUTHORITY:

          In the Plaintiffs’ Amended Complaint, they state that “[i]n February 2016, the treatment

of thrombotic stroke with tPA typically requires that tPA be provided within 6-8 hours of the

onset of the symptoms.”1 However, Plaintiff’s expert, Dr. Pope, a board-certified emergency



    1
        Amended Complaint (Doc. 61), at ¶ 48.

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room physician, testified that it would be outside the standard of care to administer tPA outside

of 4.5 hours.2 In fact, Dr. Pope expressly denied paragraph 48 of the Plaintiff’s Amended

Complaint.3 Similarly, Dr. Dhar, one of the Plaintiffs’ neurologists, testified that the standard of

care for a place like StoneCrest was that tPA could be administered no later than 4.5 hours after

last normal.4 Further still, Dr. Callahan, one of the other neurologists retained by the Plaintiffs,

testified that tPA could be administered up to 4.5 hours in select patients,5 but gave no testimony

that supported the administration of tPA past 4.5 hours from last known normal.

        Plaintiffs have the burden to establish through competent expert testimony the applicable

standard of care and a deviation from that standard of care. Tenn. Code Ann. § 29-26-115(a).

None of the Plaintiffs’ experts have offered an opinion that tPA should be administered beyond

4.5 hours of last normal. Therefore, pursuant to Rules 401 and 402 of the Federal Rules of

Evidence, testimony that tPA may be administered beyond 4.5 hours of last normal is irrelevant

and cannot be admitted into evidence. Even if it were relevant, Rule 403 of Federal Rules of

Evidence requires that it be excluded because any potential probative value is substantially

outweighed by unfair prejudice to Dr. Archer since no expert opinions were provided during

discovery that tPA could or should be administered beyond 4.5 hours from last normal.

Likewise, to permit testimony that tPA could be administered beyond 4.5 hours from last normal

is highly likely to confuse the issues and mislead the jury as the issues. There are enough timing

issues in dispute without asking confusing the jury further about when tPA could even be

provided. Likewise, to the extent such testimony is permitted, it will lead to undue delay and

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       Transcript of Deposition of Troy T. Pope, M.D., on March 23, 2018 (“Dr. Pope Depo.”), at 44:14 – 24. A
complete copy of this transcript will be filed pursuant to a separate Notice of Filing.
     3
       Dr. Pope Depo., at 106:9 – 25.
     4
       Transcript of Deposition of Rajat Dhar, M.D. on April 17, 2018 (Dr. Dhar’s Depo.”), at 138:6 – 24. A
complete copy of this transcript will be filed pursuant to a separate Notice of Filing.
     5
       Transcript of Deposition of Alfred Callahan, III, M.D., on April 10, 2018 (Dr. Callahan’s Depo.”), at 35:3 –
36:10. A complete copy of this transcript will be filed pursuant to a separate Notice of Filing.

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wasting time, as defense counsel will be forced to spend considerable time impeaching the

witnesses on their prior testimony.    Therefore, such testimony or argument should not be

permitted.

                                        CONCLUSION

       For the foregoing reasons, Dr. Archer respectfully asks this Court to enter an Order

excluding all testimony, evidence, or argument that tPA could be administered beyond 4.5 hours

of last known normal.

              Respectfully submitted on this 14th day of December 2018.

                                            HALL BOOTH SMITH, P.C.



                                      By:   /s/ Bryant C. Witt
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been furnished
by electronic means via the Court’s electronic filing system, this 14th day of December 2018, to
counsel of record as follows:

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